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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  VIRAL STYLE, LLC,

             Plaintiff,
 v.                                             Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

             Defendants.
                                       /

                                EXHIBIT D

                                    TO

                               COMPLAINT
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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,                                   CASE NO.: 1:20-CV-05251

          PLAINTIFF,
                                                              JUDGE THOMAS M. DURKIN
V.

THE PARTNERSHIPS AND UNINCORPORATED                           MAGISTRATE JUDGE SUNIL R. HARJANI
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

          DEFENDANTS.                                         FILED UNDER SEAL


                            SEALED TEMPORARY RESTRAINING ORDER

             THIS CAUSE being before the Court on Plaintiff, Iron Maiden Holdings, Ltd.’s (“Iron

      Maiden” or “Plaintiff”) Ex Parte Motion for Entry of a Temporary Restraining Order, including

      a temporary injunction, temporary asset restraint, expedited discovery, and electronic service

      of process, against the defendants identified on Schedule “A” to the Complaint (collectively,

      the “Defendants”) and using at least the online marketplace accounts identified on Schedule

      A (the “Defendant Internet Stores” or “Seller Aliases”), and this Court having heard the

      evidence before it hereby GRANTS Plaintiff’s Ex Parte Motion in its entirety.

             This Court further finds that it has personal jurisdiction over the Defendants since the

      Defendants directly target their business activities toward consumers in the United States,

      including Illinois, by offering to sell and ship products into this Judicial District. Specifically,

      Defendants are reaching out to do business with Illinois residents by operating one or more

      commercial, interactive Internet Stores through which Illinois residents can purchase products

      bearing counterfeit versions of the Iron Maiden Trademarks, which are covered by Federally

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 Registered Trademarks, which have been filed under seal as Exhibit 1 to the Complaint (referred

 to as the “Iron Maiden Trademarks”); and the Iron Maiden Copyrights, which have been filed

 under seal as Exhibit 2 to the Complaint (referred to as the “Iron Maiden Copyrights”).

          This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of the

 Federal Rules of Civil Procedure is appropriate because Plaintiff has presented specific facts in the

 Declaration of Paul Varley, paragraphs 15-24, and the Declaration of Ann Marie Sullivan,

 paragraphs 5-9, and accompanying evidence clearly showing that immediate and irreparable

 injury, loss, or damage will result to the movant before the adverse party can be heard in

 opposition. Specifically, in the absence of an ex parte Order, Defendants could and likely would

 modify registration data and content, change hosts, redirect traffic to other websites in their control,

 and move any assets from accounts in U.S.-based financial institutions, including PayPal accounts,

 to off-shore accounts. Id. As other courts have recognized, proceedings against those who

 deliberately traffic in counterfeit merchandise are often useless if notice is given to the adverse

 party.

          Accordingly, this Court orders that:

  1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

  and all persons acting for, with, by, through, under or in active concert with them, be temporarily

  enjoined and restrained from:

   a. using Iron Maiden Trademarks or any reproductions, counterfeit copies or colorable

       imitations thereof in any manner in connection with the distribution, marketing, advertising,

       offering for sale, or sale of any product that is not a genuine Iron Maiden product or not

       authorized by Plaintiff to be sold in connection with its Iron Maiden Trademarks;



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  b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     Iron Maiden product or any other product produced by Plaintiff, that is not Plaintiff’s,

     and is not produced under the authorization, control, or supervision of Plaintiff, and/or

     approved by Plaintiff for sale under Plaintiff’s Iron Maiden Trademarks;

  c. committing any acts calculated to cause consumers to believe that Defendants’ products

     are those sold under the authorization, control, or supervision of Plaintiff, or are

     sponsored by, approved by, or otherwise connected with Iron Maiden;

  d. further infringing Plaintiff’s Iron Maiden Trademarks and Iron Maiden Copyrights, and

     damaging Plaintiff’s goodwill;

  e. otherwise competing unfairly with Plaintiff in any manner;

  f. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

     for sale, and which bear any of Plaintiff’s Iron Maiden Trademarks and/or Copyrights,

     or any reproductions, counterfeit copies, or colorable imitations thereof;

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     online marketplace accounts, or any other domain name or Seller Alias account that is

     being used to sell, or is the means by which Defendants could continue to sell,

     Counterfeit Iron Maiden Products; and,

  h. operating and/or hosting websites at any other online marketplace or domain name

     registered or operated by Defendants that are involved with the distribution, marketing,

     advertising, offering for sale, or sale of any product bearing Plaintiff’s Iron Maiden

     Trademarks or any reproductions, counterfeit copies, or colorable imitations thereof



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           that is not a genuine Iron Maiden product or not authorized by Plaintiff to be sold in

           connection with Plaintiff’s Iron Maiden Trademarks.

2.     Each Defendant, within fourteen (14) days after receiving notice of this Order, shall serve upon

       Plaintiff a written report under oath providing: (a) their true name and physical address, (b) all

       websites and online marketplace accounts on any platform that they own and/or operate, (c)

       their financial accounts, including all PayPal accounts, and (d) the steps taken by each Defendant

       to comply with paragraph 1, a through h, above.

3.     The domain name registries for any Defendants’ domain names, including, but not Limited

       to: VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

       Interest Registry, within three (3) business days of receipt of this Order or prior to expiration

       of this Order, whichever date shall occur first, shall disable the Defendants’ domain names

       and make them inactive and untransferable until further ordered by this Court.

4.     Those in privity with Defendants and with actual notice of this Order, including any online

       marketplaces such as Alibaba Group Holding Ltd., Alipay.com Co., Ltd. and any related

       Alibaba entities (collectively, “Alibaba”), social media platforms, Facebook, YouTube,

       Linkedln, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts for

       the Defendant domain names, and domain name registrars, shall within three (3) business

       days of receipt of this Order:

           a.   Disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit and infringing goods using the Iron Maiden

           Trademarks, including any accounts associated with the Defendants listed on Schedule

           “ A”;




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           b.   Disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using the

           Iron Maiden Trademarks; and

           c.   Take all steps necessary to prevent links to the online marketplace accounts

           identified on Schedule A from displaying in search results, including, but not limited

           to, removing links to the Seller Aliases from any search index.

5.     Defendants, and any third party with actual notice of this Order who is providing services

       for any of the Defendants, or in connection with any of Defendants’ websites at the online

       marketplace accounts or other websites operated by Defendants, including, without

       limitation, any online marketplace platforms such as Alibaba, advertisers, Facebook,

       Internet Service Providers (“ISP”), web hosts, back-end service providers, web designers,

       sponsored search engine or ad-word providers, banks, merchant account providers,

       including PayPal, Alibaba, Western Union, third party processors and other payment

       processing service providers, shippers, and domain name registrars (collectively, the “Third

       Party Providers”) shall, within five (5) business days after receipt of such notice, provide to

       Plaintiff expedited discovery, including copies of all documents and records in such

       person’s or entity’s possession or control relating to:

           a.   The identities and locations of Defendants, their agents, servants, employees,

           confederates, attorneys, and any persons acting in concert or participation with them,

           including all known contact information;

           b.   The nature of Defendants’ operations and all associated sales and financial

           information, including, without limitation, identifying information associated with the

           online marketplace accounts, the Defendants’ other Seller Aliases and/or websites, and



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           Defendants’ financial accounts, as well as providing a full accounting of Defendants’

           sales and listing history related to their respective Defendant Internet Stores and other

           Defendant websites;

           c.   Defendants’ websites and/or any online marketplace accounts;

           d.   Any domain name registered by Defendants;

           e.   Any financial accounts owned or controlled by Defendants, including their agents,

           servants, employees, confederates, attorneys, and any persons acting in concert or

           participation with them, including such accounts residing with or under the control of

           any banks, savings and loan associations, payment processors or other financial

           institutions, including, without limitation, PayPal, Alibaba, Western Union, or other

           merchant account providers, payment providers, third party processors, and credit card

           associations (e.g., MasterCard and VISA).

6.     Defendants and any persons and/or entities in active concert or participation with them who

       have actual notice of this Order shall be temporarily restrained and enjoined from transferring

       or disposing of any money or other of Defendants’ assets until further ordered by this Court.

7.     PayPal, Inc. (“PayPal”) shall, within two (2) business days of receipt of this Order, for any

       Defendant or any of Defendants’ online marketplace accounts or websites:

           a.   Locate all accounts and funds connected to and related to Defendants, Defendants’

           online marketplace accounts or Defendants’ websites, including, but not limited to, any

           PayPal accounts connected to and related to the information listed in Schedule A and the

           email addresses associated with the Defendants that are identified by either Defendants or

           third parties;




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            b.   Restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further ordered by this Court.

8.     ALIPAY US, INC. (“ALIPAY”), Amazon Payments, Inc. ("Amazon"), ContextLogic, Inc.

       (“WISH”), Etsy, and eBay, Inc. (“eBay”) (collectively, “Online Marketplaces”), and all other

       e-commerce platforms in privity with Defendants, and their respective related companies and

       affiliates, shall within two (2) business days of receipt of this Order:

       a.   Identify and restrain all funds, as opposed to ongoing account activity, in, or which

            hereafter are transmitted, into the online marketplace accounts related to Defendants as

            identified on Schedule A, as well as all funds in, or which are transmitted, into (i) any other

            accounts of the same customer(s), (ii) any other accounts which transfer funds into the same

            financial institution account(s), any of the other accounts subject to this Order; and (iii) any

            other accounts tied to or used by any of the Seller Aliases identified on Schedule “A”;

       b.   Provide Plaintiff’s counsel with all data which details (i) an accounting of the total funds

            restrained and the identification of the financial account(s) which the restrained funds are

            related to, and (ii) the account transactions related to all funds transmitted into the financial

            account(s) which have been restrained. Such restraining of the funds and the disclosure of

            the related financial institution account information shall be made without notice to the

            account owners until after those accounts are restrained; and,

       c.   Prevent the transfer or surrender of any and all funds restrained by this Order for any

            purpose (other than pursuant to a chargeback made pursuant to the Online Marketplace’s

            security interest in the funds) without the express authorization of this Court.




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9.      Any banks, savings and loan associations, payment processors, or other financial institutions,

        for any Defendant or any of Defendants’ online marketplace accounts or websites, shall within

        two (2) business days of receipt of this Order:

              a. Locate all accounts and funds connected to Defendants, Defendants’ online

                  marketplace accounts or Defendants’ websites, including, but not limited to, any

                  accounts connected to the information listed in Schedule A and the email addresses

                  associated with the Defendants that are identified by either Defendants or third parties;

                  and,

              b. Restrain and enjoin such accounts from receiving, transferring or disposing of any

                  money or other of Defendants’ assets until further ordered by this Court.

10.     Plaintiff may provide notice of these proceedings to Defendants, including notice of the

        preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website and/or by sending an e-mail to any e-mail addresses provided for Defendants

        by Defendants or any third parties that includes a link to said website. The Clerk of Court

        is directed to issue a single original summons in the name of “UP TO 60% OFF Store and

        all other Defendants identified in the Complaint” that shall apply to all Defendants. The

        combination of providing notice via electronic publication or e-mail, along with any notice

        that Defendants receive from domain name registrars and payment processors, shall

        constitute notice reasonably calculated under all circumstances to apprise Defendants of the

        pendency of the action and afford them the opportunity to present their objections.

11.     Plaintiff’s Amended Complaint, Exhibit 1 to the Complaint, Exhibit 2 to the Complaint,

        Schedule “A” to the Complaint, Motion for Temporary Restraining Order and its



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        memorandum and supporting pleadings and exhibits, Motion for Electronic Service of

        Process and its memorandum and supporting pleadings and exhibits, and this Order shall

        remain sealed until Defendants’ financial accounts are restrained. Plaintiff shall request the

        Clerk to unseal all documents prior to the expiration of this Order.

12.     Plaintiff shall deposit with the Court Ten Thousand Dollars ($10,000.00), either cash, cashier’s

        check (payable to Clerk, US District Court), or surety bond, as security, which amount was

        determined adequate for the payment of such damages as any person may be entitled to recover

        as a result of a wrongful restraint hereunder.

13.     Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order on two days’ notice to Plaintiff or on shorter notice as set by this Court.

14.     This Temporary Restraining Order without notice is entered at 12:00 p.m on September 16,

        2020, and shall remain in effect for fourteen (14) days.




                                                         Honorable Thomas M. Durkin

                                                         U.S. District Court Judge




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